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                IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF ARKANSAS
                        FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                          PLAINTIFF

VS.                   CASE NO. 5:15CR50079-001

ADELINA MAGANA FERNANDEZ
a/k/a Adenlina Magana Fernandez
a/k/a Adenlina Magana Hernandez                                   DEFENDANT

           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

      Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3),

Local Rule 72.1 ¶ XII, and General Order No. 40, this matter was

referred to the undersigned for the purposes of conducting a plea

hearing pursuant to Rule 11 of the Federal Rules of Criminal

Procedure. Such a hearing was conducted on December 14, 2015, and,

pursuant to a written plea agreement, the Defendant, Adelina Magana

Fernandez, entered a plea of guilty to Count Two of the Indictment,

charging her with aiding and abetting in the distribution of a

mixture or substance containing more than five (5) grams of actual

methamphetamine, in violation of 21 U.S.C. § § 841(a)(1), 841

(b)(1)(B)(viii) and 18 U.S.C. § 2.       It is anticipated that if the

Court accepts the plea agreement, once the Court has pronounced

sentence, the Government will move to dismiss Counts One, Three,

Four, and Five of the Indictment, as well as the Forfeiture

Allegation of the Indictment.     After conducting the hearing in the

form and manner prescribed by Rule 11, the undersigned finds:
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     1.     The Defendant, after consultation with her counsel, has

knowingly and voluntarily consented, both in writing in the plea

agreement and on the record at the hearing, to the entry of her

guilty plea before the undersigned, with the plea being subject to

final approval by United States District Judge Timothy L. Brooks.

     2.     The Defendant and the Government have entered into a

written plea agreement, which has been disclosed in open court

pursuant to Rule 11(c)(2), and the undersigned has directed that

the plea agreement be filed.

     3.     The Defendant is fully competent and capable of entering

an informed plea; the Defendant is aware of the nature of the

charge, the applicable maximum penalties, and the consequences of

the plea; the Defendant is fully satisfied with her counsel and has

had sufficient time to consult with her; and the plea of guilty is

a knowing and voluntary plea supported by an independent basis in

fact containing each of the essential elements of the offense.

     4.     The   Defendant    understands     her    constitutional       and

statutory rights and wishes to waive these rights.

     5.     The parties were informed, both in writing and on the

record at the hearing, of their right to file written objections

within    fourteen   (14)   days   after   receipt   of   this   Report    and

Recommendation.      To expedite acceptance of the guilty plea, the

parties waived, both on the record and in writing, their right to

file objections.
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     Based on the foregoing, the undersigned recommends that the

guilty plea be accepted and that the written plea agreement be

tentatively approved, subject to final approval at sentencing.

     DATED this 14th day of December, 2015.



                                         /s/ Erin L. Setser
                                         HON. ERIN L. SETSER
                                         UNITED STATES MAGISTRATE JUDGE
